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THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
ANNE ELKIND and SHARON ROSEN, on
behalf of themselves and all others similarly
situated,                                                        CV 14-cv-02484 (JS) (AKT)

                                 Plaintiffs,

              - against -

REVLON CONSUMER PRODUCTS
CORPORATION,
                                                                         i
                                 Defendant.                                           I   AND OfFICE
-------------------------------------------------------------X               LONG \S~..-0
                                   FINAL SETTLEMENT ORDER

        This matter having come before the Court for a Final Approval Hearing on August 1,

20 17, pursuant to the Preliminary Approval Order by the Hon. Joanna Seybert, dated March 29,

20 17 (Dkt. No. 120), on the application of plaintiffs and Class Representatives Anne Elkind and

Sharon Rosen and Defendant Revlon Consumer Products Corporation ("Revlon") for final

approval of the Class Action Settlement Agreement executed on June 27,2017 (Dkt. No. 109-3),

the best practicable notice in the circumstances having been given to the Settlement Class as

required by the Preliminary Approval Order, the Settlement Class members having been afforded

an adequate opportunity to exclude themselves from the Settlement or to object thereto, and the

Court having considered al l papers filed, oral arguments presented, and proceedings had herein,

and otherwise being fully informed in the premises as to the facts and the law,
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IT IS HEREBY ORDERED, AJUDGED, AND DECREED THAT:

       1.      This Final Approval Order incorporates by reference the definitions set forth in

the Class Action Settlement Agreement, and all capitalized terms herein shall have the same

meanings as set forth in the Class Action Settlement Agreement.

       2.      This Court has jurisdiction over the subject matter of this case, and over defendant

Revlon and all members of the Class.

       3.      For substantially the reasons set f01th in this Court's Amended Report and

Recommendation, dated March 9, 20 17 (Dkt. No. 119), and the reasons set forth in Judge

Seybert's Memorandum and Order (Dkt. No. 120), and for the reasons set forth on the record

during the Final Approval Fairness Hearing conducted August 1, 2017 (see transcript at Dkt.

No. 130), the Court confirms the Order certifying the Class pursuant to Federal Rules of Civil

Procedure 23(b)(2) and (3), and finally certifies the Class defined as:

       Elkind, Rosen and all other Persons in the United States who, during the Class
       Period (the time period begi nnin g on April 25, 2011 and ending on the date a
       motion for preliminary approval of the Settlement Agreement is filed in the
       Action) purchased one or more of Revlon 's Age Defying with DNA Advantage
       Cream Makeup, Concealer, and Powder, in any package, size, or iteration, for
       personal, family or household use, and not for resale.

       Specifically excluded from the class, however, are any Person(s) who timely opts-
       out of the Class.


For purposes of the foregoing class definition , "Persons" means any individual, corporation or

any other entity of any nature whatsoever. (Dkt. No. 109-3 at 5).

       4.      The Court reaffirms the Memorandum and Order dated March 29, 2017 (Docket

No. 120) appointing Anne Elkind and Sharon Rosen as Class Representatives and the Law

Offices of Ronald A. MarTon and The Law Office of Jack Fitzgerald and their attorneys of reco rd




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as Class Counsel, including without limitation Thomas A. Canova, Ronald A. Marron, and Jack

Fitzgerald.

       5.      Notice of the pendency of this Action as a class action, and of the proposed C lass

Action Settlement, were given to all Class Members by the best means practicable under the

circumstances, and included web-based noti ce utilizing paid banner ads on targeted websites and

additional web-based notice using " keyword" searches. Notice also included Social Media

Notice ads targeting relevant interest areas. Finally, notice to the C lass was effected through the

creation of a Class Action Settlement website. The Notice Plan, which was approved by the

Court, delivered 11 ,025 ,759 impressions to potential Class Members, and reached an estimated

70% of the Class. The Notice Plan also resulted in 55,664 claims submitted. The form and

method of notifying the C lass of the pendency of the Action and all terms of the proposed C lass

Action Settlement Agreement met the requirements of the Preliminary Approval Order dated

March 29, 20 17 (Dkt. N o . 120; incorporating all findings of the Amended Report &

Recommendation dated March 9, 201 7, Dkt. No . 119), Rule 23 of the Federal Rules of Civil

Procedure, due process, and any other applicable law.

       6.      The C lass Action Settlement was reached after serious, informed, arms-length and

non-collusive negotiations by highl y capable and experienced counsel with fu ll know ledge of the

facts, the law and the risks inherent in litigating the Action and was the product of vigorously

fought litigation. The C lass Action Settlement is entitled to a presumption of procedural fairness,

and was entered into as the result of a process that was in fact procedurally fair.

       7.      The Class Action Settlement confers substantial economic and non-economic

benefits upon the Settlement C lass members, provides substantial additional economic and non-




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economic benefits to the public, is in the public interest, and wi ll provide the parti es w ith repose

from litigation.

        8.         Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court hereby

finds that the Class Action Settlement is fair, reasonable, and adequate, and therefore approves

the Class Action Settlement and directs that the Class Action Settlement be consummated in

accordance with the terms set forth therein.

       9.          The Court hereby approves, as fair, reasonable, and adequate, the plan of

allocation, i.e., the distribution of benefits to be provided to the Class members and the means of

providing such benefits, as set forth in the Class Action Settlement.

        10.        The Court has considered Class Counsel's request for an award of $395,00 in

attorney's fees and costs. The Court recognizes Class Counsel's skillful and zealous prosecution

of the Action, and notes that the requested fee award will not diminish or erode the benefit to the

Class, since the cap of $400,000 to satisfy Class Member claims is fair, reasonable, and

adequate. Having reviewed Class Counsel's fee application and all appl icable legal authorities,

the Court hereby approves an award of attorneys' fees in the requested amount of $3 45 ,000 and

an award of costs in the requested amount of $5 0,000, as well as the fee of the Dahl

Administration, the Class Action Settlement Administrator, in the requested amount of $95,000.

While the Court considered Class Counsels' lodestar only as a cross-check for the percentage of

common fund method of determining attorneys' fees, the Court nevertheless also approves the

amount oftime spent by Class Counsel on the different tasks involved in liti gating this case, as

set forth in Plaintiffs' Motion for Attorneys' Fees, Costs, and Incentive Awards (Dkt No. 125).

        11.        In making the award of attorneys' fees and reimbursement of costs and expenses,

the Court has considered and found that:



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        a. The Class Action Settlement provides direct, immediate and tangible economic
           benefits to the Settlement Class members, in the form of refunds, attorneys' fees,
           class notice and administration, and enhancement awards to the Class
           Representatives, with an economic value of $900,000, paid by Revlon into a
           Qualified Settlement Fund;

        b. The Class Action Settlement provides specific injunctive relief which will protect
           the Class, and the public. By no later than December 31, 2017, Revlon shall
           discontinue, and shall not recommence, manufacturing, advertising, promoting,
           distributing, offering for sale, and selling the DNA Advantage Products. This
           provision does not prohibit Revlon from selling off any DNA Advantage Products
           remaining in inventory or in channel following such discontinuance (including by
           advertising, promoting, and distributing such inventory). Notw ithstanding the
           compl iance deadline of December 3 1, 20 17, Rev ion represents that, as of
           November 2013 , it had discontinued manufacturing its DNA Advantage concealer
           and powder;

        c. Class Counsel have conducted the litigation and achieved the Class Action
           Settlement with skill, perseverance, and diligent advocacy;

        d. The action involves complex legal and factual issues and was actively prosecuted
           for more than three years before settlement negotiations began. But for the Class
           Action Settlement, the litigation would involve further lengthy proceedings, at
           considerable risk to the Class, and with uncertain resolution of the legal and
           factual issues;

        e. Had Class Counsel not achieved the Settlement, there would remain a significant
           risk that the Class Representative and the Settlement Class may have recovered
           less or nothing from Revlon;

        f.   The requested award of attorneys' fees of$345,000 represents 38.33% ofthe
             immediate financial benefit to the Settlement Class, and is far less than the total
             economic value of the Settlement when considering the inj unctive relief. The
             Court finds that the requested award of attorneys ' fees, costs, and expenses is
             reasonable when viewed as percentage of the common fund, taking all relevant
             factors into account;

        g. Class Counsel have devoted approximately 1, 767 hours to thi s litigation with a
           combined lodestar of $955,029. The Court recognizes that the amount requested,
           $3 45 ,000, is actually a downward departure and represents a 0.36 lodestar
           multipl ier. The Court recognizes that Class Counsel is accepting a downward
           lodestar to ensure fair, adequate, and reasonable economic compensation to the
           Class.

        h. On balance, the requested award of attorneys' fees, costs, and expenses is fair,
           reasonable, and consistent w ith awards in similar cases.

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           12.    The Court has considered the requests for E nhancement Awards for the Class

Representatives of $5,000 to each. The Court find s the requested Enhancement Awards to be

justified under the facts of this case and the appl icable legal authorities, and notes with approval

that the requested Enhancement Awards wi ll be paid by Revlon and thus wi ll not diminish or

erode the benefit to the Settlement Class. Accordingly, the Court hereby approves the

Enhancement Awards of $5,000 to plaintiff Elkind and $5,000 to plaintiff Rosen.

           13.    The Comi notes that no obj ections were fil ed and that no objectors appeared at the

Final Fairness Hearing. The Court also notes that only one opt-out was received by the Claims

Administrator. The fact that there were no obj ections and on ly a single opt-out are strong

indicators that this is a fair, adequate, and reasonable Class Action Settlement.

           14.    The Court finds that the Class Action Settlement is fai r, reasonable and adequate,

and accordingly, the Court approves the Class as certified for settlement purposes and approves

the Settlement, directing that the Parties implement the Settlement in accordance with its terms

and consistent with this Final Approval Order.

           15 .   The Court hereby dism isses the Action in its entirety, w ith prejudice, and without

costs except as otherwise provided in the Class Action Settlement and as expressly stated in this

Final Approval Order.

           16.    As of the Effective Date of the Class Action Settlement, the re leases set fo rth in

Section G of the Class Action Settlement Agreement shall take effect, subject to the terms

thereof.

           17.    The Court shall retain jurisd iction with respect to the implementati on and

enforcement of the terms of the C lass Action Settlement, and all Parties hereto submit to the

continuing jurisdiction of the Court for purposes of implementing and enforc ing this Settlement.



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     IT IS SO ORDERED this   5/6   day of   J(p~rnlu,_-        , 2017.




                                                      /s/ A. Kathleen Tomlinson

                                                  Hon. A. Kathleen Tomlinson
                                                  United States Magistrate Judge


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